
64 N.Y.2d 734 (1984)
County of Westchester, Plaintiff,
v.
Welton Becket Associates et al., Defendants. (And Third and Fourth-Party Actions.) (Action No. 1.)
J. R. Stevenson Corp., Appellant,
v.
County of Westchester, Respondent, et al., Defendants. (And Third, Fourth, Fifth and Sixth-Party Actions.) (Action No. 2.)
Martin Mechanical Corporation, Plaintiff,
v.
County of Westchester et al., Defendants. (And Third and Fourth-Party Actions.) (Action No. 3.)
Luna Industries, Inc. (Luna Electric Company Division), Appellant,
v.
County of Westchester, Respondent, et al., Defendant. (And Third and Fourth-Party Actions.) (Action No. 4.)
Court of Appeals of the State of New York.
Decided December 20, 1984.
Appeals by Luna Industries, Inc., and J. R. Stevenson Corp. dismissed, without costs, by the Court of Appeals sua sponte, upon the ground that so much of the Appellate Division order as aggrieves appellants does not finally determine the actions within the meaning of the Constitution.
